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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X           Chapter 13
IN RE:
                                                               Case No. 817-71003-AST
SARBJIT KAUR,
                                                               ORDER CONFIRMING PLAN
                                                                 Hon. Alan S. Trust
                                         Debtor.
--------------------------------------------------------X

       The Debtor’s Chapter 13 Plan dated June 22, 2018 (the “Plan”) or a summary thereof,
having been transmitted to all creditors; and the deposit required by the Plan and 11 U.S.C.
Section 1326 having been made to the Trustee; and it having been determined after notice and
a hearing that the Plan complied with the provisions of 11 U.S.C. Section 1325 and with other
applicable provisions of this title;

         IT IS ORDERED, that:

       1. The Debtor’s Plan filed with the Clerk’s Office on June 25, 2018 as docket number 32
is hereby confirmed.

         2. The percentage stated in the Plan for payments to unsecured creditors shall be paid
to all unsecured creditors provided all proofs of claim are timely filed and allowed. If all proofs of
claims are not filed as scheduled, the unsecured creditors who have filed claims shall be paid
pro rata, but in no event shall they receive more than one hundred (100%) percent of their claim
as filed.

        3. Immediately after the entry of this Order and every month thereafter, the Debtor shall
pay to the Trustee Marianne DeRosa, by bank check, certified check or money order, at P.O.
Box 2178, Memphis, TN 38101-2178 all sums as required in the Plan.

        4. The Court shall retain jurisdiction over the Debtor’s real property pursuant to 11
U.S.C. Section 1327. By virtue thereof, the Debtors shall not sell, encumber or hypothecate said
real property without prior written approval of this Court.

       5. Throughout the term of the Plan, the Debtor is enjoined from incurring post-petition
debt over $2,500.00 without prior written consent of the Chapter 13 Trustee or this Court.




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  Dated: August 1, 2018                                                          Alan S. Trust
         Central Islip, New York                                        United States Bankruptcy Judge
